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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 --------------------------------X

 UNITED STATES OF AMERICA                       MEMORANDUM AND ORDER

             - against -                        10-CR-627 (KAM)

 COURTNEY DUPREE, THOMAS FOLEY,
 and RODNEY WATTS

                Defendants.
 --------------------------------X

 MATSUMOTO, United States District Judge:

             On December 30, 2011, after a jury trial, defendant

 Courtney Dupree (“Dupree”), the owner and CEO of GDC

 Acquisitions, LLC (“GDC”), and a number of wholly owned

 subsidiaries, was convicted of (1) conspiracy to commit bank

 fraud, mail fraud, and wire fraud, (2) bank fraud, and (3) two

 counts of making a false statement in connection with a complex

 multi-million dollar scheme to defraud Amalgamated Bank

 (“Amalgamated”) by obtaining or attempting to obtain loan

 proceeds on the basis of false financial statements and other

 material misrepresentations between January 2007 and July 2010.

 On January 3, 2012, the same jury returned a special verdict

 finding that Dupree obtained $18,157,000 constituting or derived

 from proceeds traceable to the offenses for which he was

 convicted, and also finding that funds in eight bank accounts

 seized by the government were subject to forfeiture as property

 constituting or derived from proceeds traceable to those
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 offenses.    (See ECF No. 511, Special Verdict Sheet for

 Forfeiture.)    Accordingly, on January 10, 2012, the court

 entered a preliminary order of forfeiture as to the funds seized

 from the bank accounts.      Four of the eight bank accounts were

 with JP Morgan Chase Bank (“Chase Bank”) in the name of Unalite

 Southwest, LLC (“USW”), a wholly-owned subsidiary of GDC, and

 total $983,790.11 (the “Subject Funds”).          (See id.)     Pursuant to

 21 U.S.C. § 853(n) and Federal Rule of Criminal Procedure

 32.2(c)(1), before the court may enter a final order of

 forfeiture as to the assets included in the preliminary order of

 forfeiture in favor of the government, it must first conduct a

 post-trial ancillary proceeding in order to adjudicate any

 third-party claims to the forfeited assets.

             Presently before the court are four motions related to

 third-parties claiming an interest in the Subject Funds: (1) a

 motion by the United States of America (the “government”) to

 dismiss the verified petition for a hearing to adjudicate the

 third-party claims of defendant Rodney Watts (“Watts”) and his

 counsel DePetris & Bachrach, LLP (“D&B”) (collectively, the

 “Watts Petitioners”) to the Subject Funds; (2) a cross-motion by

 the Watts Petitioners for judgment on the pleadings against the

 government; (3) a motion by the Watts Petitioners to dismiss the

 verified petition for a hearing to adjudicate the third-party

 claims of Amalgamated to the Subject Funds; and (4) a request by

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 pro se third-party Valerie A. Griffin (“Griffin”) that she be

 added as an interested party so that she may file a third-party

 claim to assets included in the preliminary order of forfeiture.

 (See ECF Nos. 554, 559, 571, 575-76, 579-584.)              For the reasons

 set forth below, the court hereby: (1) grants the government’s

 motion to dismiss the Watts Petitioners’ petition; (2) denies

 the Watts Petitioners’ cross-motion for judgment on the

 pleadings; (3) denies the Watts Petitioners’ motion to dismiss

 Amalgamated’s petition; and (4) denies Griffin’s request to be

 added as an interested party in order to file a third-party

 petition.

                                 BACKGROUND

 I. Factual and Procedural History

             The court will assume the reader’s familiarity with

 the extensive factual and procedural history of this case, and

 will therefore only summarize those facts that are pertinent to

 the present motions regarding third-party claims to assets

 subject to the preliminary order of forfeiture.

             On July 21, 2010, Magistrate Judge Marilyn D. Go of

 the Eastern District of New York issued warrants to seize funds

 in approximately sixteen bank accounts as representing property

 that constituted or was derived from proceeds traceable to a

 conspiracy to commit bank fraud, mail fraud, and wire fraud in

 violation of 18 U.S.C. §§ 1344, 1341, and 1343.             (See generally

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 ECF No. 2, Arrest Warrant.)       On July 23, 2010, Magistrate Judge

 Ramon E. Reyes of the Eastern District of New York issued

 seizure warrants for funds in several additional bank accounts.

 Included among those assets seized by the government were the

 Subject Funds from four accounts at Chase Bank held in the name

 of USW.

             In a five-count superseding indictment on August 13,

 2010, defendants Dupree, Watts, and Thomas Foley (“Foley”)

 (collectively, “defendants”) were indicted by a grand jury for

 bank fraud, conspiracy to commit bank, mail, and wire fraud, and

 making a false statement and report for the purposes of

 influencing Amalgamated.       (See ECF No. 295, Superseding

 Indictment.)1    The first four counts of the Superseding

 Indictment arise out of an alleged scheme to defraud

 Amalgamated, a federally insured financial institution, by

 obtaining, and attempting to obtain, loan funds for GDC and its

 subsidiaries on the basis of false financial statements and

 other material misrepresentations between January 2007 and July

 2010.   (Id. ¶¶ 5, 6, 8.)      Specifically, on or about August 29,

 2008, three of GDC’s subsidiaries, JDC Lighting, LLC, Unalite

 Electric and Lighting, LLC, and Hudson Bay Environments Group,

 LLC (collectively, the “Borrower Subsidiaries”), entered into an

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               Count Five of the Superseding Indictment charges only Dupree
 with an additional count of bank fraud. However, this charge was not
 presented to the jury at trial and remains open. (See ECF No. 506, Jury
 Verdict.)

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 agreement (“the Loan Agreement”) with Amalgamated under which

 the Borrower Subsidiaries could borrow up to $21 million through

 a revolving credit and term loan, which were guaranteed by GDC

 and other wholly owned subsidiaries of GDC.           (Id. ¶ 9).     Under

 the terms of the Loan Agreement, the Borrower Subsidiaries

 pledged as security for the loans all of their property, which

 included, inter alia, their accounts receivable and inventory.

 The Borrower Subsidiaries were required to submit Borrowing Base

 Certificates to Amalgamated each month stating the total value

 of both their accounts receivable and current inventory.              (Id.

 ¶¶ 10-11.)    The core of the fraud allegations was that

 defendants deliberately and falsely overstated the accounts

 receivable on consolidated financial statements and Borrowing

 Base Certificates provided to Amalgamated, which were used to

 determine the amount that the Borrower Subsidiaries could borrow

 in any given month.     (Id. ¶¶ 11-13.)

              In May of 2011, Watts sought to challenge the

 government’s continued restraint of the Subject Funds at an

 evidentiary hearing conducted pursuant to United States v.

 Monsanto, 924 F.2d 1186 (2d Cir. 1991).         (See ECF No. 213,

 Minute Entry for Monsanto Hearing held before Magistrate Judge

 Joan M. Azrack.)     On July 27, 2011, the court adopted in part

 and modified in part the Report and Recommendation of Magistrate

 Judge Azrack, and found that the government had demonstrated

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 probable cause to continue to restrain $350,290.87 of the

 Subject Funds in advance of trial.         (ECF No. 281, Memorandum and

 Order (“July 27th Order”) at 23-24.)        As part of his opposition

 to the government’s motion for reconsideration and clarification

 of the court’s order, Watts tendered an assignment by USW,

 executed by counsel for Dupree on August 11, 2011 (the

 “Assignment”), which purports to assign all of USW’s right,

 title, and interest in the Subject Funds to Watts’ counsel, D&B,

 in payment of past and future legal services provided by D&B to

 Watts.    (See ECF No. 314-1, Assignment ¶¶ 2-3.)

             Despite Watts’ request that the remaining balance of

 the Subject Funds, totaling $633,499.24, be released to D&B, the

 court instead directed the government to deposit the remaining

 balance into the Eastern District of New York’s Seized Asset

 Deposit Fund pending further orders from this court or a court

 with jurisdiction over those funds.        (See Minute Entry of Sept.

 13, 2011; ECF No. 338, Order.)       At Watts’ request, based upon

 Watts’ appeal to the Second Circuit of those orders, the court

 granted Watts a stay of his criminal case pending adjudication

 of his appeal.     (See Minute Entry of Oct. 17, 2011.)

             After jury selection on December 5, 2011, the trial of

 Dupree and Foley commenced with opening statements the following

 day on December 6, 2011, and continued thereafter.             On December

 30, 2012, after one day of deliberations, the jury returned its

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 verdict finding Dupree guilty of counts One through Four of the

 Superseding Indictment, and acquitting Foley of all charges.

 (See Jury Verdict.)     The forfeiture phase of the jury trial then

 continued in a separate proceeding following the guilty verdict.

 On January 3, 2012, the jury returned a Special Verdict for a

 Forfeiture Money Judgment, by a preponderance of the evidence,

 that Dupree obtained funds constituting or derived from proceeds

 of the offenses in the Superseding Indictment of which he was

 convicted, in the amount of $18,157,000, as representing

 proceeds traceable to offenses for which he was convicted, and

 that funds seized by the government from the eight bank accounts

 were also subject to forfeiture as property traceable to or

 derived from proceeds of Dupree’s offenses of conviction. (See

 Special Verdict Sheet for Forfeiture.)         Accordingly, on January

 10, 2012, the court entered preliminary orders of forfeiture as

 to the Subject Funds.       (See ECF Nos. 520, 521, First and Second

 Preliminary Orders of Forfeiture.)         Dupree has not contested the

 sufficiency of the evidence to sustain the forfeiture verdict.

             By summary order issued on April 30, 2012, the Second

 Circuit held that the jury’s verdict as to Dupree, as well as

 the preliminary orders of forfeiture entered on the basis of

 that verdict, rendered Watts’ appeal moot, and therefore

 dismissed his appeal.       See United States v. Watts, 477 Fed.



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 Appx. 816, 817-818 (2d Cir. 2012).         The Second Circuit

 specifically stated in relevant part:


             The   district  court’s   finding    that   the
             government lacked probable cause to continue
             to restrain the funds at issue did not bar
             the government from seeking the forfeiture
             of the funds following a trial based on a
             preponderance of the evidence standard. See
             Fed. R. Crim. P. 32.2(b)(1)(B); see also
             United States v. Premises and Real Prop. at
             4492 S. Livonia Rd., 889 F.2d 1258, 1265-66
             (2d Cir. 1989) (“the illegal seizure of
             property, standing alone, will not immunize
             that property from forfeiture, so long as
             impermissibly obtained evidence is not used
             in the forfeiture proceeding”). Of course,
             Watts is free to pursue his claims against
             the subject funds in a post-trial ancillary
             proceeding. See 21 U.S.C. § 853(n); Fed. R.
             Crim. P. 32.2(c)(1);see also De Almeida v.
             United States, 459 F.3d 377, 381 (2d Cir.
             2006)(“[C]riminal   forfeiture    is    not   a
             measure restricted to property owned by the
             criminal defendant . . . . The likelihood
             that some property involved in an offense
             will be owned by persons other than the
             criminal defendant is reflected in the
             provision for an ancillary proceeding”).

 Watts, 477 Fed. Appx. at 817-818.

             On May 9, 2012, and in accordance with 21 U.S.C. §

 853(n)(1),2 the government sent direct written notice of the

 preliminary order of forfeiture to potential claimants,

 including the Watts Petitioners and Amalgamated.             (See ECF No.

 538, Certificate of Service.)        On June 7, 2012, the Watts

 Petitioners timely filed a joint verified petition claiming an
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               As detailed infra, 21 U.S.C. § 853(n) establishes the procedure
 by which third-party claims to assets subject to forfeiture are adjudicated.

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 interest in the Subject Funds.       (ECF No. 549, Verified Pet. for

 Hearing to Adjudicate Third-Party Claims of Watts and D&B (the

 “Watts Petition”).)     On June 8, 2012, Amalgamated also timely

 filed a verified petition claiming an interest in the Subject

 Funds.     (ECF No. 550, Pet. of Amalgamated for Adjudication of

 Interest (the “Amalgamated Petition”).)         On June 19, 2012, the

 court set a briefing schedule as to the instant motions.              (ECF

 Order of June 19, 2012.)      Finally, by letter dated June 25,

 2012, and received by the court on June 28, 2012, pro se third-

 party Griffin, a former employee of GDC, requested that the

 court add her name as an interested party in order that she may

 file a petition claiming an interest in the Subject Funds.               (ECF

 No. 554, Ltr. from Valerie A. Griffin to the court (“Griffin

 Ltr.”).)

 II. Ancillary Proceedings and Standard of Review

       A.     Statutory Framework of Ancillary Proceedings

              The procedure by which third-parties may seek to

 recover an alleged interest in forfeited property is through a

 post-trial ancillary proceeding pursuant to 21 U.S.C. § 853(n).

 21 U.S.C. § 853(n).     “[T]he purpose of the ancillary proceeding

 is for the District Court . . . to amend orders of forfeiture

 and apportion assets when one or more third parties claim an

 interest in the property to be forfeited.”          Willis Mgmt. (Vt.),

 Ltd. v. United States, 652 F.3d 236, 246 (2d Cir. 2011).              Thus,

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 if a third-party establishes a valid and superior interest in

 the forfeited property, then that property shall be stricken

 from the final order of forfeiture.         See 21 U.S.C. § 853(n)(6).

 If, however, the third-party does not establish a valid and

 superior interest in the property, then “the United States shall

 have clear title to property that is the subject of the order of

 forfeiture and may warrant good title to any subsequent

 purchaser or transferee.”      21 U.S.C. § 853(n)(7).         “Property”

 includes “tangible and intangible personal property, including

 rights, privileges, interests, claims and securities.”              United

 States v. Singh, 390 F.3d 168, 189 (2d Cir. 2004) (quoting 21

 U.S.C. § 853(b)(2)).

            Section 853(n)(2), which delineates the process for

 third-parties seeking to modify a final order of forfeiture and

 claiming an interest in forfeited property, provides, in

 pertinent part:

            Any   person,  other   than  the   defendant,
            asserting a legal interest in property which
            has been ordered forfeited to the United
            States pursuant to this section may . . .
            petition   the  court   for  a   hearing   to
            adjudicate the validity of his alleged
            interest in the property.

 21 U.S.C. § 853(n)(2).      A third-party petition must be filed

 within 30 days of either final publication of notice by the

 government of the forfeiture, or the claimant’s receipt of



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 notice of the order of forfeiture, whichever is earlier.               21

 U.S.C. § 853(n)(2).         Section 853(n)(3) further provides that:

            The   petition  shall   be   signed  by  the
            petitioner under penalty of perjury and
            shall set forth the nature and extent of the
            petitioner’s right, title, or interest in
            the property, the time and circumstances of
            the petitioner's acquisition of the right,
            title, or interest in the property, any
            additional facts supporting the petitioner’s
            claim, and the relief sought.

 21 U.S.C. § 853(n)(3).       Thus, a petition must set forth the

 legal basis and all grounds for the third-party’s claimed

 interest in the property, and the third-party may not later

 amend the petition to assert additional grounds for relief.                 21

 U.S.C. § 853(n)(3); see United States v. Soreide, 461 F.3d 1351,

 1355 (11th Cir. 2006) (citing United States v. Strube, 58 F.

 Supp. 2d 576, 585 (M.D. Pa. 1999) (denying claims of third-

 parties as untimely when those claims were not made in petitions

 but in response to government's motion to dismiss)).               Courts

 generally require “strict compliance” with the rules and

 deadlines governing forfeiture proceedings.            See United States

 v. Amiel, 995 F.2d 367, 371 (2d Cir. 1993) (collecting cases

 applying the “strict compliance” standard to various statutory

 forfeiture proceedings).

            In order to advance a claim in the ancillary

 proceeding, a third-party petitioner must first establish a

 “legal interest” in a particular asset, pursuant to 21 U.S.C. §

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 853(n)(2).     See United States v. Timely, 507 F.3d 1125, 1129

 (8th Cir. 2007) (“[A] party seeking to challenge the

 government’s forfeiture of money or property used in violation

 of federal law must first demonstrate [a legal] interest in the

 seized item sufficient to satisfy the court of its standing to

 contest the forfeiture.” (quoting United States v. Three Hundred

 Sixty Four Thousand Nine Hundred Sixty Dollars ($ 364,960.00) in

 U.S. Currency, 661 F.2d 319, 326 (5th Cir. 1981)).             “Legal

 interest” is not defined by federal law; rather, “[s]tate law

 determines a petitioner’s interest in the property at issue.”

 Willis Mgmt., 652 F.3d at 242 (citing Pacheco v. Serendensky,

 393 F.3d 348, 353-56 (2d Cir. 2004)).         If a third-party

 petitioner possesses no legal interest under applicable state

 law (in this case, the law of the State of New York), the claim

 must be dismissed for lack of standing.          See United States v.

 Ribadeneira, 105 F.3d 833, 835 (2d Cir. 1997); Timely, 507 F.3d

 at 1130; United States v. Ovid, No. 09-CR-216, 2012 U.S. Dist.

 LEXIS 80049, at *7-8 (E.D.N.Y. June 8, 2012).

              Pursuant to Title 21 Section 853(n)(6), if a third-

 party petitioner demonstrates that the petitioner has standing,

 petitioner must then establish by a preponderance of the

 evidence at the hearing either that:

              (A) [T]he petitioner has a legal right,
              title, or interest in the property, and such
              right, title, or interest renders the order

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            of forfeiture invalid in whole or in part
            because the right, title, or interest was
            vested in the petitioner rather than the
            defendant or was superior to any right,
            title, or interest of the defendant at the
            time of the commission of the acts which
            gave rise to the forfeiture of the property
            . . . ; or

            (B) the petitioner is a bona fide purchaser
            for value of the right, title, or interest
            in the property and was at the time of
            purchase reasonably without cause to believe
            that the property was subject to forfeiture
            . . . .

 21 U.S.C. § 853(n)(6)(A),(B); see also Ribadeneira, 105 F.3d at

 834-35; Ovid, 2012 U.S. Dist. LEXIS 80049, at *7.

       B.   Procedures in Ancillary Proceeding

            Ancillary proceedings are governed by Federal Rule of

 Criminal Procedure 32.2(c), which provides that “the court may,

 on motion, dismiss the petition for lack of standing, for

 failure to state a claim, or for any other lawful reason.                For

 purposes of the motion, the facts set forth in the petition are

 assumed to be true.”        Fed. R. Crim. P. 32.2(c)(1)(A); Willis

 Mgmt., 652 F.3d at 241.        “[A] motion to dismiss a third-party

 petition in a forfeiture proceeding prior to discovery or a

 hearing should be treated like a motion to dismiss a civil

 complaint under Federal Rule of Civil Procedure 12(b).”

 Pacheco, 393 F.3d at 352.        “Therefore, a petition should not be

 dismissed if the petitioner has stated ‘enough facts to state a

 claim to relief that is plausible on its face.’”              Willis Mgmt.,

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 652 F.3d at 241-42 (quoting Bell Atl. Corp. v. Twombly, 550 U.S.

 544, 570 (2007)).     Additionally, all reasonable inferences must

 be drawn in favor of the petitioner.         See Operating Local 649

 Annuity Trust Fund v. Smith Barney Fund Mgmt. LLC, 595 F.3d 86,

 91 (2d Cir. 2010) (stating Fed. R. Civ. P. 12(b)(6) standard).

 The court, however, is not required to accept “mere conclusory

 statements,” nor is it required to accept legal conclusions that

 are pleaded as factual allegations.         Ashcroft v. Iqbal, 556 U.S.

 662, 678 (2009) (citing Twombly, 550 U.S. at 555).

                                 DISCUSSION

 I. The Government’s Motion to Dismiss the Watts Petition

       A.   The Watts Petitioners’ Standing to Assert a Claim

            The government first argues in its motion to dismiss

 the Watts Petition that neither D&B nor Watts have standing to

 assert a claim to the Subject Funds.3         (See ECF No. 580-1, Gov.’s

 Mem. of Law in Supp. of Mot. to Dismiss (“Gov. Mem.”) at 9-17.)

 The Watts Petitioners dispute that D&B and Watts lack standing

 to assert a claim and, instead, counter that the government

 lacks standing to contest the USW assignment of the Subject

 Funds to D&B.    (See ECF No. 582, Mem. of Law in Opp. to Gov.’s

 Mot. to Dismiss (“Watts Opp.”) at 1-14.)          As discussed below,

             3
               Amalgamated purports to join in the government’s motion. (ECF
 No. 581, Mem. of Law in Opp. to Mot. by Watts Petitioners to Dismiss
 Amalgamated’s Petition (“Amalgamated Opp.”) at 24 n.3). However, because
 Amalgamated did not formally move to join in the government’s motion, see
 Fed. R. Civ. P. 7(b), the court will only consider the government’s
 arguments.

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 the court finds, assuming as it must for purposes of the motion,

 that the allegations in the Watts Petition are true, Fed. R.

 Crim. P. 32.2(c)(1)(A), that D&B and Watts each have standing to

 assert a claim to the Subject Funds.

             1.     The Government’s Standing to Contest the USW
                    Assignment

             The Watts Petitioners assert that because the

 government is not a creditor of USW, it lacks standing to

 contest the validity of the Assignment between USW and D&B.

 (Watts Opp. at 6-7.)        The Watts Petitioners’ cite only to the

 Second Circuit decision in Eberhard v. Marcu, 530 F.3d 122 (2d

 Cir. 2008), in support of their assertion.            In Eberhard, the

 Second Circuit noted that “in order to set aside a fraudulent

 conveyance, one must be a creditor of the transferor,” and that

 “those who are not injured by the transfer lack standing to

 challenge it.”4     Id. at 129.    The Second Circuit held that a

 receiver appointed over the defendant’s assets in a Securities

 and Exchange Commission enforcement action could not challenge

 an earlier conveyance made by the defendant because the

 creditors’ assets had been excluded from the receivership

 estate.   See id. at 133.




             4
               New York Debtor and Creditor Law defines “creditor” as “a person
 having any claim, whether matured or unmatured, liquidated or unliquidated,
 absolute, fixed or contingent.” N.Y. Debt. & Cred. Law § 270.


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              Eberhard, however, did not involve the application of

 any forfeiture statute, criminal or civil; thus, the factual and

 legal bases on which Eberhard was decided have no bearing on

 this case.    More importantly, the Watts Petitioners’ argument

 that the government lacks standing to contest the validity of

 the Assignment runs counter to the statutory framework and

 purpose of the ancillary forfeiture proceeding by attempting to

 deprive the government of the ability to defend its interests

 against invalid third-party claims.         See 21 U.S.C. § 853(n)(5)

 (“The United States may present evidence and witnesses in

 rebuttal and in defense of its claim to the property and cross-

 examine witnesses who appear at the hearing.”)

              The Watts Petitioners’ argument is also contrary to

 prior court decisions that have ruled for the government by

 rejecting third-party claims based upon fraudulent conveyances.

 See, e.g., United States v. Peterson, 820 F. Supp. 2d 576, 583

 (S.D.N.Y. 2011) (rejecting third-party claim on grounds that

 transfers of property to third-party were fraudulent conveyances

 under California law); United States v. Frykholm, 362 F.3d 413,

 417 (7th Cir. 2004) (rejecting third-party claim on grounds that

 transfer of security interest to petitioner was fraudulent

 conveyance under Wisconsin law, thereby preventing petitioner

 from achieving the status of bona fide purchaser for value).

 Accordingly, the court rejects the Watts Petitioners’ argument

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 that the government lacks standing to contest the validity of

 the Assignment.

             2.    D&B’s Standing to Pursue a Third-Party Claim

             As previously noted, in order for a third-party to

 have standing to make a claim to preliminarily forfeited assets,

 it must have a legal interest in those assets, as established by

 relevant state law.      Willis Mgmt., 652 F.3d at 242 (citing

 Pacheco, 393 F.3d at 353-56).        Here, D&B claims an interest in

 the Subject Funds pursuant to the August 2011 Assignment of the

 funds by USW to the law firm for payment of past and future

 legal services related to Watts’ criminal defense.             (Watts

 Petition ¶ 2.)5

             Although the Assignment states that USW “irrevocably

 assigns, grants, and transfer all rights, title, interest, and

 obligation in” the Subject Funds to D&B, (see Assignment ¶¶ 2-

 3), neither the Assignment nor the Watts Petition set forth

 facts upon which USW was obligated to pay the legal fees, past

 or present, of Watts, nor the nature of the corporate action

 authorizing USW to pay legal fees by way of an Assignment to

 D&B, executed by Dupree’s “attorney in fact.”            (Assignment at

 2.)   The government contends that the Assignment is a fraudulent

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               The Assignment is attached as an Exhibit to the Watts Petition,
 and therefore properly may be considered by the court in determining the
 government’s motion to dismiss the Watts Petition. Brass v. American Film
 Technologies, Inc., 987 F.2d 142, 150 (2d Cir. 1993) (noting that on a motion
 to dismiss, a court may consider “documents attached to the complaint as an
 exhibit or incorporated in it by reference . . . .”).

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 conveyance.    (Gov. Mem. at 9-13.)      If the Assignment is, in

 fact, a fraudulent conveyance, D&B would lack standing to make a

 claim to the Subject Funds.      United States v. Gallion, No. 2:07-

 39-DCR, 2010 U.S. Dist. LEXIS 94786, at *71 (E.D. Ky. Sept. 10,

 2010) (citing United States v. 5208 Los Franciscos Way, 385 F.3d

 1187, 1192 (9th Cir. 2004)).

            Where, as in this case, the party challenging

 forfeiture is not the person in possession of the property at

 the time it was seized, but instead purports to be an assignee

 of the possessor, the “claimant must show that the assignment

 was valid, i.e. that it effectively conveyed to the assignee an

 interest in the subject property.”          $ 364,960.00 in U.S.

 Currency, 661 F.2d at 326.      Whether the Assignment is a valid

 transfer or a fraudulent conveyance is a question of New York

 law.   Under the New York Debtor and Creditor Law, a conveyance

 is fraudulent if it was both made without “fair consideration,”

 and the transferor is, inter alia, “insolvent or will be

 rendered insolvent by the transfer in question . . . .”              Geltzer

 v. Artists Mktg. Corp. (In re Cassandra Group), 338 B.R. 583,

 594 (Bankr. S.D.N.Y. 2006) (citing N.Y. Debt. & Cred. Law §§

 273, 274, 275); see also Sharp Intl Corp. v. State Street Bank &

 Trust Co. (In re Sharp Int’l Corp.), 302 B.R. 760, 778 (E.D.N.Y.

 2003) (citing same).



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             Here, the government asserts that the Assignment by

 USW to D&B was made without fair consideration, and that USW was

 already insolvent at the time the Assignment was made.               (See

 Gov. Mem. at 10-13.)        Relying on matters outside the petition,

 the government argues that USW was insolvent at the time of the

 Assignment on August 11, 2011 on the basis of a conference

 before the court on September 13, 2011, at which the court

 voiced concern that USW was, according to the parties, “defunct”

 and “not operational.”       (Tr. of Sept. 13, 2011 Conf. at 95-96,

 Gov. Mem. Ex. A.)6     Although counsel for Dupree conceded that USW

 was not then staffed or operating in the ordinary course of

 business, counsel also insisted that USW “hasn’t been shut

 down,” and that it was still “an operating entity” and “still

 viable” insofar as its official corporate status was concerned.

 (Id. at 96.)

             Under New York law, “[a] person is insolvent when the

 present fair salable value of his assets is less than the amount


             6
               The transcript of the September 2011 conference is not part of
 the “pleadings,” i.e., the Watts Petition. The Second Circuit, however, has
 noted that on a motion to dismiss, district courts may properly consider
 matters of which judicial notice may be taken. Halebian v. Berv, 644 F.3d
 122, 131 n.7 (2d Cir. 2011). Additionally, under the “law of the case”
 doctrine, a prior decision of law by this court would be binding as to the
 present motions to dismiss. Caci v. Laborers’ Int’l Union, Nos. 97-CV-
 33A(F), 97-CV-34A(F), 1999 U.S. Dist. LEXIS 21572, at *20-21 (W.D.N.Y. Sept.
 7, 1999) (noting that under the law of the case doctrine, “a decision on an
 issue of law made at one stage of the case becomes binding precedent to be
 followed in subsequent stages of the same litigation.”). Even assuming that
 the court may properly consider the September 2011 conference transcript,
 however, the court’s discussion with counsel at that conference is not “law
 of the case” and does not represent an adequate factual basis on which to
 determine USW’s solvency at the time of the Assignment.

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 that will be required to pay his probable liability on his

 existing debts as they become absolute and matured.”              N.Y. Debt.

 and Cred. Law § 271(1).      Additionally, “the element of

 insolvency is presumed when a conveyance is made without fair

 consideration, and the burden of overcoming such presumption is

 on the transferee.”     United States v. Alfano, 34 F. Supp. 2d

 827, 845 (E.D.N.Y. 1999) (citing Snyder v. United States, No.

 88-CV-2136, 1995 U.S. Dist. LEXIS 13283, at *30-31 (E.D.N.Y.

 1995)); see also Greystone Bank v. Neuberg, No. 10-CV-5225, 2011

 U.S. Dist. LEXIS 96669, at *7 (E.D.N.Y. Aug. 25, 2011).              Hence,

 assuming that the government established that the Assignment was

 made without fair consideration, the burden would then shift to

 D&B to overcome the presumption of insolvency.

            In order to determine whether or not USW assigned the

 funds without fair consideration and was thus presumptively

 insolvent at the time of the Assignment, and whether to allow

 D&B to address its burden of overcoming the presumption of

 insolvency, the court would be required to look beyond the

 pleadings and to weigh evidence extrinsic to the petition

 regarding USW’s specific debts and obligations at that time of

 the Assignment.    Notwithstanding the court’s previously

 expressed concern with the operational and financial status of

 USW, there is no basis in the pleadings or the transcript of the

 September 2011 conference on which to determine either whether

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 USW received fair consideration and was insolvent or was

 rendered insolvent by the Assignment.

            Because the four corners of the pleadings provide no

 basis upon which the court may determine that USW received fair

 consideration for, and was in fact insolvent at the time of, the

 Assignment, the court declines to address the parties’ arguments

 regarding the first element of a fraudulent conveyance: whether

 or not the Assignment was made for fair consideration.              The

 court notes that the government has raised valid questions

 regarding the timing and circumstances under which the

 Assignment was executed.      The petition does not explain the

 circumstances under which USW was obligated to pay D&B legal

 fees for legal serviced provided to Watts in connection with his

 criminal case.    Nonetheless, on the basis of the information

 alleged in the Watts Petition and the attached Assignment which

 states that “good and valuable consideration” was received, the

 court must assume, for purposes of the government’s motion to

 dismiss the Watts Petition, that the allegation of a valid

 assignment is true.     The court therefore finds that the Watts

 Petition provides barely “enough facts to state a claim to

 relief that is plausible on its face,” and that D&B has

 satisfied the pleading requirement that it have an interest in a

 particular, specific asset at issue.         Twombly, 550 U.S. at 570.



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              3.   Watts’ Standing as a Third-Party Beneficiary to
                   the Assignment

              The Watts Petition claims that Watts has standing to

 pursue a claim in the ancillary proceeding as a third-party

 beneficiary of the Assignment from USW to D&B.               (Watts Petition

 ¶ 6, claiming that “Petitioner Watts is a third-party

 beneficiary of the Assignment from USW to his counsel for

 payment of his legal fees and expenses in this criminal case,

 and had a property interest in the funds assigned for said

 purpose.”)    Under New York law, “[p]arties asserting third-party

 beneficiary rights under a contract must establish the existence

 of a valid and binding contract between other parties . . . .”

 Mendel v. Henry Phipps Plaza W., Inc., 844 N.E.2d 748, 751 (N.Y.

 2006) (citation omitted); see also Highland Capital Mgmt. LP v.

 Schneider, 607 F.3d 322, 324 (2d Cir. 2010) (holding that

 plaintiff could not prevail as a third-party beneficiary where

 contract was not valid).      The government here argues that the

 Assignment does not constitute a contract.           (See Gov. Mem. at

 15-17.)

              The Assignment purports to assign USW’s interest in

 the Subject Funds to D&B in exchange for past and future legal

 services rendered to Watts.      (See Assignment ¶ 2.)           The

 Assignment also states the parties’ intent that D&B’s legal

 services be “deemed good and valuable consideration received”


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 for the assignment of the Subject Funds.           (Id.)      Notwithstanding

 the government’s arguments to the contrary, and the government’s

 doubts about the genesis of the Assignment, the court must

 accept at this juncture that the Assignment was a valid

 contract.    See In re Asia Global Crossing, LTD., 344 B.R. 247,

 252 (Bankr. S.D.N.Y. 2006) (“[C]ontract law does not concern

 itself with the relative value of what the parties exchanged,

 and will enforce a bad bargain.”)         Therefore, the court again

 finds, for purposes of the government’s motion to dismiss Watts

 and D&B’s claims, that the Watts Petition states barely “enough

 facts to state a claim to relief that is plausible on its face”

 with regard to Watts’ standing to bring a claim as a third-party

 beneficiary to the Assignment between USW and D&B.               Twombly, 550

 U.S. at 570.

       B.    The Watts Petitioners’ Claim to a Superior Legal
             Interest in the Subject Funds Pursuant to 21
             U.S.C. § 853(n)(6)

             The government further asserts that the Watts Petition

 must be dismissed because D&B cannot demonstrate a superior

 legal interest in the Subject Funds pursuant to Section

 853(n)(6)(A) or (B).        (See Gov. Mem. at 17-25.)         The Watts

 Petitioners counter that their petition satisfies the superior

 legal interest requirements of Section 853(n)(6)(A) and (B).

 (See Watts Opp. at 14-25.)       As set forth below, the court finds

 that the Watts Petitioners do not and cannot demonstrate a

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 superior legal interest in the Subject Funds pursuant to Section

 853(n)(6)(A) or (B) and, consequently, the entire Watts Petition

 must therefore be dismissed.

             1.      D&P Cannot Demonstrate Priority of Ownership
                     Under Section 853(n)(6)(A)

                 In order for the Watts Petitioners to prevail under

 Section 853(n)(6)(A), D&B must be able to demonstrate that it

 had a priority of ownership of the Subject Funds at the time of

 the criminal offenses, which offenses were proven during the

 trial to have occurred between 2007 and 2010.7               21 U.S.C. §

 853(n)(6)(A).      Under the relation-back doctrine, “title to the

 forfeited property vests in the United States at the time of the

 defendant’s criminal act.”       Timley, 507 F.3d at 1130; 21 U.S.C.

 § 853(c) (“All right, title, and interest in property described

 in subsection (a) vests in the United States upon the commission

 of the act giving rise to forfeiture under this section.”); see

 also Caplin & Drysdale v. United States, 491 U.S. 617, 627

 (1989) (“[Section] 853(c) reflects the application of the long-

 recognized and lawful practice of vesting title to any

 forfeitable assets, in the United States, at the time of the

 criminal act giving rise to forfeiture.”).           D&B cannot possibly

 demonstrate a superior legal interest in the Subject Funds

 because the Assignment under which D&B claims its interest was
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               Because Watts’ alleged interest in the Subject Funds is as a
 third-party beneficiary to the Assignment between USW and D&B, the validity
 of his claim necessarily depends on the validity of D&B’s claim.

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 executed on August 11, 2011, a year after the defendants were

 indicted, and almost four years after the start of the

 conspiracy for which Dupree was convicted and Watts stands to be

 tried.   See United States v. Monea Family Trust I, 626 F.3d 271,

 276 (6th Cir. 2010) (noting trial court ruling that government’s

 interest in property vested on date on which conspiracy began);

 United States v. McClung, 6 F. Supp. 2d 548, 552 (W.D. Va. 1998)

 (looking to ownership of property at issue as of the beginning

 of drug conspiracy).        D&B’s claim that it acquired priority of

 ownership at the time of the offenses of conviction is plainly

 belied by the fact that the Assignment was not executed until

 August 11, 2011.    (See Watts Petition ¶ 2.)          Therefore, because

 Dupree’s criminal act predated the Assignment, the relation-back

 doctrine vests title in the Subject Funds with the United States

 as of the start of the conspiracy to commit bank, mail, and wire

 fraud.

            The Watts Petitioners respond by invoking two cases in

 which courts have recognized exceptions to the relation-back

 doctrine’s rule: Willis Mgmt. (Vt.), Ltd. v. United States, 652

 F.3d 236 (2d Cir. 2011), and United States v. Shefton, 548 F.3d

 1360 (11th Cir. 2008).       (Watts Opp. at 15-17.)           However, the

 holdings of Willis Management and Shefton are distinguishable

 from the facts of this case.       Both of those cases held that a

 third-party petitioner can demonstrate a superior legal interest

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 under Section 853(n)(6)(A) where the petitioner can establish

 the existence of a constructive trust for the benefit of a

 victim of crime.    Willis Mgmt., 652 F.3d at 245 (“[I]t is the

 law of this Circuit that a constructive trust qualifies as a

 ‘legal . . . interest’ for the purposes of § 853(n)(6)(A).”)

 (citation omitted); Shefton, 548 F.3d at 1367 (“[W]e agree with

 the majority of circuits that have held that a constructive

 trust can serve as a superior legal interest under §

 853(n)(6)(A) and thus can serve as grounds for invalidating a

 criminal forfeiture order.”)      In Willis Management, the Second

 Circuit also directed that “district courts should evaluate

 whether a constructive trust should be recognized pursuant to

 the applicable state law and based on the facts of the

 particular case at issue.”      652 F.3d at 245.

            In order to establish a constructive trust, New York

 law requires four elements: “(1) a confidential or fiduciary

 relation, (2) a promise, (3) a transfer in reliance thereon and

 (4) unjust enrichment.”      Counihan v. Allstate Ins. Co., 194 F.3d

 357, 362 (2d Cir. 1999) (quoting Sharp v. Kosmalski, 40 N.Y.2d

 119, 121 (1976)).     The Watts Petitioners could not and do not

 assert that they should be the beneficiaries of a constructive

 trust.   Moreover, the facts of this case do not support

 recognizing a constructive trust for the benefit of the Watts

 Petitioners pursuant to New York law.

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            Additionally, third-party petitioners cannot possibly

 establish a pre-existing interest in property adjudged to be the

 proceeds of crime because criminal proceeds, and the

 government’s vested interest therein, necessarily only come into

 existence once a crime occurs.       See United States v. Hooper, 229

 F.3d 818, 821-22 (9th Cir. 2000) (holding that Section

 853(n)(6)(A) “is likely never to apply to proceeds of the crime”

 given that the proceeds cannot exist before commission of the

 crime); see also Timely, 507 F.3d at 1130 (“As the court in

 Hooper explained, the proceeds of an offense do not exist before

 the offense is committed, and when they come into existence, the

 government’s interest under the relation-back doctrine

 immediately vests.”); United States v. Eldick, 223 Fed. Appx.

 837, 840 (11th Cir. 2007) (“In order to have a superior

 interest, then, the claimant must have had a legal right, title,

 or interest in the forfeitable properties that preceded the

 commission of the crime that gave rise to the forfeiture of that

 property.”); United States v. Watkins, 320 F.3d 1279, 1282 (11th

 Cir. 2003).

            Here, the Subject Funds to which D&B claims a priority

 of interest were found by the jury to represent the proceeds of

 Dupree’s fraud conspiracy and fraud against Amalgamated, which

 began years before the Assignment was executed.              (See Jury

 Verdict at 1-3; Special Verdict Sheet for Forfeiture at 3(a)-

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 (d).)   Accordingly, the Watts Petitioners cannot claim an

 interest in the Subject Funds that precedes the point at which

 the government’s interest in the funds vested.

            The Watts Petitioners therefore cannot establish a

 claim to the Subject Funds under Section 853(n)(6)(A).

            2.    D&P Cannot Establish a Claim Under Section
                  853(n)(6)(B)

            In order to prevail under Section 853(n)(6)(B), D&B

 must demonstrate both that it is a bona fide purchaser for value

 of the Subject Funds, and that at the time of the purchase it

 was reasonably without cause to believe that the Subject Funds

 were subject to forfeiture.      21. U.S.C. § 853(n)(6)(B); Pacheco,

 393 F.3d at 353.

               The government contends that even if the Watts

 Petition adequately alleges the existence of an antecedent debt

 owed by USW/GDC to D&B, the law firm still would not qualify as

 a “purchaser” within the meaning of Section 853(n)(6)(B) because

 a creditor who claims receipt of property in satisfaction of an

 antecedent debt cannot be said to have given anything of “value”

 in exchange for the property.       (Gov. Mem. at 19-20 (citing

 United States v. BCCI Holdings (Lux.), S.A., 69 F. Supp. 2d 36,

 62 (D.D.C. 1999); United States v. Caro, No. 08-20044-CR, 2010

 U.S. Dist. LEXIS 15538, at *14-16 (S.D. Fla. Jan. 22, 2010),

 adopted by 2010 U.S. Dist. LEXIS 15536.))


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            The government also contends that D&B cannot qualify

 as a “purchaser” based upon the provision in the Assignment that

 D&B took an interest in the Subject Funds in exchange for future

 legal services owed to Watts because, at the time of the

 Assignment, D&B had already billed Watts an unpaid amount in

 excess of the value of the Subject Funds.          The government thus

 argues that because the funds would be exhausted by the payment

 of past legal services, D&B’s promise to provide legal services

 in exchange for the funds was meaningless.           (Gov. Mem. at 20.

 (citing ECF No. 543, Ltr. at 8-9 n.8); Assignment ¶ 2.)

            Conversely, the Watts Petitioners argue that the

 Assignment between USW and D&B for the rendering of past and

 future legal services for Watts’ defense satisfies the bona fide

 purchaser for value requirement under New York law.             (Watts Opp.

 at 17-19 (citing Swift v. Tyson, 41 U.S. 1, 11-14 (1842);

 Frykholm, 362 F.3d at 416; N.Y. U.C.C. § 1-201(44)).)

            Even assuming D&B’s purported ability to establish

 that the Assignment was made in partial satisfaction of an

 obligation by USW and GDC to advance funds for Watts’ legal

 defense, thereby rendering the firm a bona fide purchaser for

 value, the court cannot accept D&B’s conclusory allegations that

 it was reasonably without cause to believe that the Subject

 Funds were subject to forfeiture.        Watts and D&B have been on

 notice that the Subject Funds were forfeitable since learning of

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 the government’s initial seizure of the funds in July of 2010.

 Moreover, the Watts Petitioners were further notified that the

 funds were forfeitable upon the initial indictment of Watts on

 August 13, 2010, which included a forfeiture count, and the

 government’s filing of a bill of particulars on February 22,

 2011.   (ECF No. 118.)      Thus, D&B has had notice that the funds

 were forfeitable since well before the execution of the

 Assignment on August 11, 2011.

            As the Supreme Court’s 1989 decision in Caplin &

 Drysdale noted, “given the requirement that any assets which the

 Government wishes to have forfeited must be specified in the

 indictment, the only way a lawyer could be a beneficiary of §

 853(n)(6)(B) would be to fail to read the indictment of his

 client.”   491 U.S. at 633 n.10 (internal citation omitted); see

 also United States v. Monsanto, 491 U.S. 600, 604 n.3 (1989)

 (“An attorney seeking a payment of fees from forfeited assets

 under § 853(n)(6) would presumably rest his petition on

 subsection (B) . . . though, . . . it is highly doubtful that

 one who defends a client in a criminal case that results in

 forfeiture could prove that he was ‘without cause to believe

 that the property was subject to forfeiture.’”); Timely, 507

 F.3d at 1131 (satisfying the “reasonably without cause to

 believe” element “creates a problem for defense attorneys who

 perform services in return for criminal proceeds.”); FTC v.

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 Assail, Inc., 410 F.3d 256, 266 (5th Cir. 2005) (“[T]he mere

 fact that an attorney has read the indictment against his client

 is enough to put him on notice that his fees are potentially

 tainted and to destroy his status as a bona fide purchaser for

 value.”); United States v. McCorkle, No. 98-CR-52-ORL-19C, 2000

 WL 133759, at *3 (M.D. Fla. Jan. 14, 2000) (“It is unlikely that

 an attorney will ever achieve the status of a bona fide

 purchaser for value under 21 U.S.C. § 853(n)(6)(B) because he is

 the person most likely to appreciate the forfeitability of his

 client’s assets.”).

              The Watts Petitioners allege that because the

 Assignment on August 11, 2011 was made after the court’s July

 27, 2011 order regarding the May 2011 Monsanto hearing held

 before Magistrate Judge Azrack, D&B was “reasonably without

 cause” to believe that $633,499.24 of the Subject Funds were not

 subject to forfeiture.      (See Watts Petition ¶¶ 3-4; Watts Opp.

 at 19-21.)    According to the Watts Petitioners, the court’s July

 27, 2011 order determined that “the government had no right to

 restrain $633,499.24 of the USW Chase Funds because the

 government had failed to show probable cause that those funds

 were subject to forfeiture.”      Thus, D&B asserts that it was

 thereafter reasonably without cause to believe that the funds

 were subject to forfeiture.      (Id. at 19.)      The Watts Petitioners

 substantially misconstrue both the significance of the court’s

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 July 27th order, and the scope and purpose of a Monsanto

 hearing.

            In United States v. Monsanto, the Second Circuit

 concluded that, “the fifth and sixth amendments, considered in

 combination, require an adversary, post-restraint, pretrial

 hearing as to probable cause that . . . the properties specified

 as forfeitable in the indictment are properly forfeitable, to

 continue a restraint of assets . . . needed to retain counsel of

 choice . . . .”    924 F.2d at 1203 (emphasis added).           The Second

 Circuit made a clear distinction between pretrial “restraint”

 and post-conviction forfeiture.       See id. at 1198 (“If the

 government determines in any case that an adversary hearing in

 advance of a criminal trial is inadvisable, it always has the

 option of forgoing the restraint and obtaining forfeiture after

 conviction.”); see also id. at 1202 (“[T]he sole purpose of [§

 853’s] restraining order . . . provision is to preserve the

 status quo, i.e., to assure the availability of the property

 pending disposition of the criminal case.”) (quoting Monsanto,

 491 U.S. at 613).

            Thus, the scope of this court’s ruling as to the

 continued seizure of assets by the government following a

 Monsanto evidentiary hearing is far more limited than the Watts

 Petitioners contend; this court’s ruling did not and could not

 constitute a determination as to the ultimate forfeitability of

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 restrained assets.     The Second Circuit confirmed as much when it

 dismissed Watts’ appeal and noted that, “[t]he district court’s

 finding that the government lacked probable cause to continue to

 restrain the funds at issue did not bar the government from

 seeking the forfeiture of the funds following a trial based on a

 preponderance of the evidence standard.”          Watts, 477 Fed. Appx.

 at 817 (emphasis added).       Consequently, the court’s July 27,

 2011 post-indictment, pretrial order following the Monsanto

 hearing did not foreclose the ultimate forfeitability of the

 Subject Funds pursuant to a jury determination after the

 government’s full presentation of evidence at trial, nor could

 the court have done so at that juncture.

            Additionally, the two cases cited by the Watts

 Petitioners do not support their argument that D&B was

 reasonably without cause to believe that the Subject Funds were

 forfeitable at the time the Assignment was executed.8             The first

 case, United States v. Southern P. R. Co., 184 U.S. 49 (1902),

 dealt with the application of congressional statutes “passed for

 the purpose of upholding the titles of parties who in good faith

 had purchased from railroad companies lands, which though

 supposed to be part of their grants, proved not to be so.”               Id.

 at 52.   The Supreme Court held that “[a] party may have notice

 of conflicting claims and still, in the exercise of an honest
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               The Watts Petitioners also here invoke Pacheco v. Serenensky,
 348 F.3d 348, which case the court addresses in detail infra Section I.B.3.

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 judgment as to the rightful owner, buy property and pay for it,

 and be acting in good faith,” as a bona fide purchaser.              Id. at

 54.   By contrast, in this case, D&B knew well before the time of

 the Assignment that the government intended to forfeit the funds

 upon the conviction of any of the named defendants.

            The second case, Nat’l Credit Union Admin. Bd. v.

 Johnson, 133 F.3d 1097 (8th Cir. 1998), dealt with a civil

 enforcement action as part of a bankruptcy under the Federal

 Credit Union Act.     See id. at 1099.      The Eighth Circuit held

 that “an insolvent debtor in a bankruptcy proceeding may pay a

 nonrefundable retainer to attorneys of his choice for

 representation if the amount paid is reasonable and is not taken

 from assets that the law firm either knew or should have known

 were secured at the time they were paid.”          Id. at 1103.      The

 court, therefore, found that a law firm acted in good faith in

 accepting a client’s retainer when it reasonably relied upon

 representations that the assets were unencumbered.             Id.

            The court first notes that neither of these cases

 involved a forfeiture statute; thus, their application to this

 case is questionable.       Second, as previously discussed, the

 clearly established legal scope and significance of the court’s

 July 27, 2011 Monsanto order precluded any “good faith” or

 reasonable belief on the part of D&B that the Subject Funds were

 no longer subject to forfeiture.         The Supreme Court noted in

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 Caplin & Drysdale that, as it explained in its Monsanto

 decision, a district judge’s exercise of its discretion in

 refusing to enter a pretrial restraining order did not

 “‘immunize’ nonrestrained assets from subsequent forfeiture

 under § 853(c), if they are transferred to an attorney to pay

 legal fees.”    491 U.S. at 623.      Thus, the Watts Petitioners

 cannot have reasonably believed that this court’s pretrial

 Monsanto decision immunized the Subject Funds from subsequent

 forfeiture, even if they were assigned to D&B in payment of past

 and future legal fees.      As seasoned criminal defense lawyers and

 former federal prosecutors, D&B’s counsel knew, or reasonably

 should have known, that this court’s post-Monsanto hearing

 decision, that the government had not shown probable cause to

 continue the seizure of certain funds, could not and did not

 immunize the funds from a subsequent forfeiture.             Furthermore,

 the evidence presented at the Monsanto hearing was far narrower

 than the evidence presented at trial and at the subsequent

 forfeiture phase of the trial.        The court’s Monsanto decision

 determined that the government had not shown sufficient probable

 cause to continue its pretrial seizure of the funds based on the

 more limited evidence at the hearing.9


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               Nor does the government’s decision not to appeal the court’s
 July 27, 2011 order make any more reasonable D&B’s belief that the Subject
 Funds were no longer subject to forfeiture. (See Watts Opp. at 20.) The
 legal significance of a court’s decision cannot be contingent upon a party’s
 subsequent response to it.

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            In light of the above, D&B cannot establish that it

 was reasonably without cause to believe that the Subject Funds

 were forfeitable at the time the Assignment was executed.

 Accordingly, D&B, as well as Watts as third-party beneficiary of

 the Assignment, have failed to state a plausible claim to the

 Subject Funds under Section 853(n)(6)(B).

            3.    All Property Involved in the Instant Criminal
                  Offense is Forfeitable

            Lastly, the Watts Petitioners argue that in an

 ancillary proceeding, the government may obtain forfeiture of

 property only insofar as the criminal defendant actually owns

 the property.    (See Watts Opp. at 22-25.)        The Watts Petitioners

 specifically argue that Dupree did not personally have any

 ownership interest in the Subject Funds, and that the funds were

 instead owned by USW, an entity which is not a defendant in the

 criminal case.    (See id. at 15-17, 22.)        Therefore, the Watts

 Petitioners argue, the government may not take the Subject Funds

 by forfeiture.

            The court is not persuaded by this argument for

 several reasons.    First, the primary case on which the Watts

 Petitioners rely for this argument, Pacheco v. Serendensky, is

 entirely distinguishable from this case.          In Pacheco, the Second

 Circuit held that, under Section 853, the government could only

 acquire by forfeiture criminal defendant Serendensky’s partial


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 ownership interest in a piece of real property, not the entire

 property, which included an interest owned by Serendensky’s

 uncharged spouse.     See 393 F.3d at 355-56.        The primary concern

 of the Pacheco court, which is not at issue here, was whether 21

 U.S.C. § 853 permits partial forfeiture of real property.               See

 id. at 354 (“We are therefore required to determine whether the

 criminal forfeiture statute permits partial forfeitures of real

 property.”).    Further, the Second Circuit’s conclusion that the

 statute does permit partial forfeitures of real property was

 largely premised on the fact that the indictment and notice of

 pendency referred only to the government’s intent to obtain by

 forfeiture “the interest of defendant John Serendensky,” and

 were silent as to the remaining interest owned by Serendensky’s

 spouse.   See id. at 355 (“[W]e conclude that Serendensky --

 consistent with the government’s notice of pendency as well as

 the information to which Serendensky pleaded -- could only have

 forfeited his interest in the Premises.”) (emphasis added).

            By contrast, in the instant case, the government

 consistently and expressly has sought forfeiture of all of the

 Subject Funds as “property constituting, or derived from, any

 proceeds” obtained, directly or indirectly, as the result of

 Dupree’s offenses, not merely his interest in those funds.               21

 U.S.C. § 853(a)(1).     The government sought the funds as proceeds

 of the fraud, not as Dupree’s property.          Pacheco is therefore

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 factually distinguishable from this case.          That case neither

 limits the forfeitability of the Subject Funds, nor does it

 suggest that D&B’s belief that the funds were no longer subject

 to forfeiture was reasonable.

             Second, the Watts Petitioners’ argument that the in

 personam nature of criminal forfeiture limits forfeiture to

 assets owned by Dupree is unsupported by the law.             (See Watts

 Opp. at 22-25.)    The Watts Petitioners point to the Advisory

 Committee Notes to Fed. R. Crim. P. 32.2, which provide, “[t]he

 notion that the ‘extent’ of the defendant’s interest must be

 established as part of the criminal trial is related to the fact

 that criminal forfeiture is an in personam action in which only

 the defendant’s interest in the property may be forfeited.”

 Fed. R. Crim. P. 32.2 Advisory Committee Notes (2000) (emphasis

 added).    Here, however, the Dupree jury found at the close of

 the criminal trial by a preponderance of the evidence that the

 USW Subject Funds are property “constituting or derived from

 proceeds traceable to the offenses in the Superseding Indictment

 for which we returned a verdict of guilty as to Courtney

 Dupree.”   (Special Verdict Sheet for Forfeiture ¶ 3.a-d.)

 Therefore, the in personam nature of criminal forfeiture changes

 nothing where, as here, the jury has already found by a

 preponderance of the evidence that the Subject Funds constitute

 or are derived from proceeds traceable to the offenses for which

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 Dupree has been convicted.      See De Almeida v. United States, 459

 F.3d 377, 381 (2d Cir. 2006) (“The statutory wording makes

 sufficiently clear that criminal forfeiture is not a measure

 restricted to property owned by the criminal defendant; it

 reaches any property that is ‘involved’ in the offense.”)

 (emphasis in original); 21 U.S.C. § 853(a)(1).

             The Watts Petitioners’ argument that forfeiture is

 limited to property in which Dupree owns or has an interest is

 also contradicted by the clear language of the forfeiture

 statute.    21 U.S.C. § 853(a)(1) (explaining that forfeitable

 property includes “any property constituting, or derived from,

 any proceeds the person obtained, directly or indirectly, as the

 result of such violation”); see also Monsanto, 491 U.S. at 607

 (“[Section] 853(a) provides that a person convicted of the

 offenses charged in respondent’s indictment ‘shall forfeit . . .

 any property’ that was derived from the commission of these

 offenses.   After setting out this rule, § 853(a) repeats later

 in its text that upon conviction a sentencing court ‘shall

 order’ forfeiture of all property described in § 853(a).

 Congress could not have chosen stronger words to express its

 intent that forfeiture be mandatory in cases where the statute

 applied, or broader words to define the scope of what was to be

 forfeited.”)    Indeed, the Second Circuit has already confirmed

 in this case that “[c]riminal forfeiture is not a measure

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 restricted to property owned by the criminal defendant . . . .”

 Watts, 477 Fed. Appx. at 817-818 (quoting De Almeida, 459 F.3d

 at 381); see also De Almeida, 459 F.3d at 381 (criminal

 forfeiture “reaches any property that is ‘involved’ in the

 offense.”) (emphasis in original); United States v. Grossman,

 501 F.3d 846, 849 (7th Cir. 2007) (“The interests subject to

 forfeiture encompass all the fruits of a defendant’s crimes,

 including assets held in the name of third parties.”) (citing 21

 U.S.C. § 853(c)).

            Moreover, if a petition sufficiently alleges a claim

 pursuant to Section 853(n), the burden of demonstrating a

 petitioner’s ownership of or right, title, or interest in

 property included in a preliminary order of forfeiture is

 “ultimately on the petitioner to prove . . . by a preponderance

 of the evidence,” rather than on the government.              Pacheco, 393

 F.3d at 351; United States v. Nava, 404 F.3d 1119, 1125 (9th

 Cir. 2005) (“The petitioner bears the burden of proving his

 right, title, or interest under § 853(n)(6).”).              Thus, had their

 petition survived the government’s motion, the Watts Petitioners

 would have the burden of establishing by a preponderance of the

 evidence that they have a superior interest in the Subject Funds

 pursuant to Section 853(n), which they cannot do.              See De

 Almeida, 459 F.3d at 381 (“An ancillary proceeding is evidently

 the only avenue for a post-indictment third-party claim to

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 forfeited property . . . .”) (emphasis in original); see also 21

 U.S.C. § 853(k)(1) (“[N]o party claiming an interest in property

 subject to forfeiture . . . may intervene in a trial or appeal

 of a criminal case involving the forfeiture of such property . .

 . .”).

            Third, the cases cited by the Watts Petitioners for

 the argument that the government may only take by forfeiture

 property that is owned by Dupree are outdated or distinguishable

 from this case.    To start, United States v. Gilbert, 244 F.3d

 888 (11th Cir. 2001), and United States v. O’Dell, 247 F.3d 655

 (6th Cir. 2001), are both premised upon a version of the Federal

 Rules of Criminal Procedure which predated the enactment of Rule

 32.2 in 2000.    Under then-Rule 31(e), which no longer exists,

 some courts, including Gilbert and O’Dell, required the jury to

 return a special verdict “as to the extent of the interest of

 the property” to be forfeited by a criminal defendant.              See Fed.

 R. Crim. P. 31(e) (1994); Gilbert, 244 F.3d at 923 (holding that

 jury’s verdict was “fatally deficient” where jury did not find

 “the extent of the interest or property subject to forfeiture,

 if any” pursuant to Rule 31(e)); see O’Dell, 247 F.3d at 680

 (“[W]e must determine what, if any, interest Defendant had in

 the property that the government now claims.”); see also United

 States v. McKeithen, 822 F.2d 310, 312 (2d Cir. 1987) (noting

 application of then-Rule 31(e) to criminal forfeiture

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 proceedings).    Current Rule 32.2 contains no such requirement.

 See generally Fed. R. Crim. P. 32.2.         Therefore, to the extent

 that Gilbert and O’Dell, can be read as holding that the

 government must establish in an ancillary proceeding that a

 criminal defendant personally owns the forfeited property, that

 requirement was excised by Rule 32.2.10         See United States v.

 Marion, 562 F.3d 1330, 1341 (11th Cir. 2009) (“The forfeiture

 order at issue in Gilbert, however, was entered in 1990 . . .

 before . . . the 2000 adoption of Rule 32.2 . . . .”).

            The Watts Petitioners citation to United States v.

 Jones, 502 F.3d 388, 392 (6th Cir. 2007), for the proposition

 that the government can acquire through forfeiture no greater

 interest than that owned by the defendant at the time the

 criminal acts were committed is at odds with unambiguous Second

 Circuit precedent to the contrary.          See De Almeida, 459 F.3d at

 381 (“[t]he statutory wording makes sufficiently clear that

 criminal forfeiture is not a measure restricted to property

 owned by the criminal defendant . . . .”); see also Watts, 477

 Fed. Appx. at 817-818; United States v. Rosario, 111 F.3d 293,

 301 (2d Cir. 1997) (“21 U.S.C. § 853(a), expressly authorizes

 the forfeiture of property derived from or used to facilitate

 any violation of Title 21.” (emphasis in original)).              The

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               As the Watts Petitioners note, (Watts Opp. at 23), the Second
 Circuit cites to O’Dell in Pacheco. 393 F.2d at 356. As previously
 discussed, however, Pacheco is factually distinguishable from this case and
 pre-dates De Almeida.

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 remaining cases cited by the Watts Petitioners merely support

 the view that “the criminal forfeiture statute ‘permits the

 forfeiture of the defendant’s interests only, not the property

 of innocent parties.’”      United States v. Grossi, 482 Fed. Appx.

 252, 255 (9th Cir. 2012) (quoting Nava, 404 F.3d at 1124

 (emphasis added)); see also United States v. Huntington Nat’l

 Bank, 682 F.3d 429, 433 (6th Cir. 2012) (discussing how

 ancillary proceedings function to protect the rights of third

 parties with superior interests to funds subject to forfeiture);

 United States v. Totaro, 345 F.3d 989, 995 (8th Cir. 2003);

 United States v. Egan, 811 F. Supp. 2d 829, 838 (S.D.N.Y. 2011).

 Indeed, the purpose of the ancillary proceeding is to ensure

 that the superior property interests of third-parties are not

 forfeited to the government.

            For the reasons discussed above, the court finds that

 the Watts Petition fails to state a plausible claim to the

 Subject Funds pursuant to both Sections 853(n)(6)(A) and

 853(n)(6)(B), and that the government’s motion to dismiss the

 Watts Petition is therefore granted.

 II. Watts Petitioners’ Cross-Motion for Judgment on the
     Pleadings

            In their papers in opposition to the government’s

 motion to dismiss their third-party petition, the Watts

 Petitioners also cross-move against the government for judgment


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 on the pleadings.     (Watts Opp. at 25-26.)       Because the court has

 already granted the government’s motion to dismiss the Watts

 Petition on the basis that the petition fails to state a

 plausible claim, supra, the Watts Petitioners’ cross-motion for

 judgment on the pleadings against the government must

 accordingly be denied.      However, even assuming that the court

 had not already dismissed the Watts Petition, the cross-motion

 for judgment on the pleadings would also be denied because it is

 procedurally improper and premature.

            The Advisory Committee notes to Federal Rule of

 Criminal Procedure 32.2(c) state that “procedures akin to those

 available under the Federal Rules of Civil Procedure should be

 available to the court and the parties to aid in the efficient

 resolution of the claims” involving criminal forfeitures.               Fed.

 R. Crim. P. 32.2 Advisory Committee’s Note.           Therefore, the

 Watts Petitioners argue, a motion for judgment on the pleadings

 akin to that provided for by Federal Rule of Civil Procedure

 12(c) may be appropriate in certain ancillary forfeiture

 proceedings under Federal Rule of Criminal Procedure 32.2(c).

            Practically speaking, however, a decision by the court

 to award the Subject Funds to a party on the basis of that

 party’s petition alone would divest the government (and any

 other third-party petitioner) of the right to test the factual

 and legal bases for that party’s claim to the funds at the

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 ancillary proceeding.       See Pacheco, 393 F.3d at 351 (“At [the

 ancillary proceeding], both the petitioner and the government

 are entitled to present evidence, with the burden ultimately on

 the petitioner to prove her claim by a preponderance of the

 evidence.”) (internal citations omitted); see also 21 U.S.C. §

 853(n)(5)-(6).    Additionally, although Rule 32.2(c) does not

 specifically include a Federal Rule of Civil Procedure 12(c)

 analog, it does explicitly provide that motions may be made

 under Federal Rule of Civil Procedure 56 following the close of

 discovery.    Fed. R. Crim. P. 32.2(c)(1)(B).         Because the Watts

 Petition constitutes one of three competing claims to the

 Subject Funds, the court would have no factual basis on which to

 grant judgment on the pleadings in favor of the Watts

 Petitioners prior to the completion of discovery as to the

 competing claims, and the potential subsequent motions for

 summary judgment pursuant to Federal Rule of Civil Procedure 56.

              Therefore, the court finds that, even had the court

 not dismissed the Watts Petitioners’ claims, the Watts

 Petitioners’ cross-motion for judgment on the pleadings must be

 denied as being procedurally improper or premature.

 III. Watts Petitioners’ Motion to Dismiss Amalgamated’s Petition

       A.     Amalgamated’s Standing to Assert a Claim

              The Watts Petitioners’ argue first that the

 Amalgamated Petition should be dismissed for lack of standing.

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 (See ECF No. 579-1, Mem. in Supp. of Mot. to Dismiss Amalgamated

 Petition (“Watts Mem.”) at 7-13.)        The Watts Petitioners

 specifically claim that the Amalgamated Petition fails to

 establish the bank’s interest in “a particular, specific asset,

 as opposed to a general interest in” the Subject Funds pursuant

 to Section 853(n).     (Id. at 7 (quoting Ribadeneira, 105 F.3d at

 836).)   Amalgamated counters that it has standing to assert a

 legal interest in particular assets on the basis of a security

 interest in the Subject Funds arising from the loan documents

 and guarantees previously executed between Amalgamated, GDC, and

 the Borrower Subsidiaries.      (See Amalgamated Opp. at 14.)           As

 discussed below, even if the Watts Petition had not been

 dismissed, the court agrees that the Amalgamated Petition

 sufficiently asserts an interest in particular assets to confer

 standing upon Amalgamated to pursue its claim in the ancillary

 proceeding.

            The Amalgamated Petition claims the existence of a

 security interest in the Subject Funds based upon: a Revolving

 Credit and Term Loan Agreement in the amount of $21,000,000

 dated August 29, 2008; a Revolving Credit Note in the amount of

 $18,500,000; a Term Loan Note in the amount of $2,500,000; a

 Guarantee on the Revolving Credit and Term Loan Agreement dated

 August 29, 2008 executed by GDC; a Security Agreement on the

 Revolving Credit and Term Loan Agreement by the Borrower

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 Subsidiaries dated August 29, 2008; two Guarantees on the

 Revolving Credit and Term Loan Agreement dated July 29, 2010

 executed by Image Lighting Services LLC and TDC Acquisitions

 LLC; and a Security Agreement by Image Lighting Services LLC and

 TDC Acquisitions LLC on the Revolving Credit and Term Loan

 Agreement dated July 29, 2010.        (See Amalgamated Petition ¶ 3;

 Amalgamated Opp. Exs. A-A—A-H.)        The Amalgamated Petition

 asserts that these agreements give rise to Amalgamated’s first-

 priority right, title, and interest in the Subject Funds.11              (Id.

 ¶ 4.)

             Indeed, the August 29, 2008 Security Agreement (“2008

 Security Agreement”) between Amalgamated and the Borrower

 Subsidiaries grants Amalgamated “a security interest in, all of

 the right, title and interest of the [Borrower Subsidiaries] in,


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                As set forth in the Amalgamated Petition, this same claim is
 also the subject of a lawsuit commenced by Amalgamated on August 4, 2010 in
 the Supreme Court of New York, New York County, titled Amalgamated Bank v.
 JDC Lighting LLC, et al., Index No. 651184/10 (the “State Court Action”),
 against, among others, GDC, USW, the Borrower Subsidiaries, Dupree, and
 Watts. (Amalgamated Petition ¶ 4; see also Amended State Court Action
 Compl., Amalgamated Opp. Ex. A.) The same day on which the State Court
 Action was commenced, Justice Shirley Werner Kornreich issued an order
 imposing restraints on transfers of funds by the named defendants and “all
 persons or entities controlled by any of them . . . .” (Order to Show Cause
 ¶ 9, Amalgamated Opp. Ex. C.) The court take no position on the final
 adjudication of the State Court Action before Justice Kornreich; however, the
 court acknowledges that action insofar as the Amended Complaint in that
 action further delineates the legal basis for Amalgamated’s claim to the
 Subject Funds and is referenced in this case. (See generally Amalgamated
 Petition ¶ 4.)

             The Amended Complaint and various loan documents from Amalgamated
 related to the State Court Action may properly be considered by the court as
 part of the instant motion to dismiss because they are specifically
 referenced by, and therefore incorporated into, the Amalgamated Petition.
 (See Amalgamated Petition ¶¶ 3, 4); Brass, 987 F.2d at 150.

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 to and under the Collateral.”       (2008 Security Agreement § 2(a),

 Amalgamated Opp. Ex. A-F.)      The 2008 Security Agreement defines

 “Collateral” as including “all personal property of every kind

 and nature, wherever located, whether now owned or hereafter

 acquired or arising, and all Proceeds and products thereof,

 including . . . Accounts Receivable, . . . Deposit Accounts . .

 . and . . . other property owned or held by or on behalf of [the

 Borrower Subsidiaries] . . . .”       (Id. § 1(b).)          Additionally,

 the Amended State Court Action Complaint, which is incorporated

 in the Amalgamated Petition by reference, alleges that “[the

 Borrower Subsidiaries] gave Amalgamated a duly perfected first-

 priority lien on the Collateral.”        (Amended State Court Action

 Compl. ¶ 34.)    As further detailed in the following section,

 Amalgamated has claimed a specific interest in the Subject Funds

 on the basis of the loan agreements and related documents

 entered into between the bank and the Borrower Subsidiaries, and

 GDC as guarantor.

            The court agrees with Amalgamated that the petition

 and the documents referenced in the Amalgamated Petition,

 sufficiently establish the bank’s claim to the specific assets

 constituting the Subject Funds.       See Ribadeneira, 105 F.3d at

 836 (distinguishing between parties with general interests in

 assets insufficient to confer standing, and parties with a

 security interest attached to specific funds sufficient to

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 confer standing).     Assuming, as the court must, that the facts

 set forth in the Amalgamated Petition are true, Amalgamated has

 pleaded an interest in specific assets sufficient to confer

 standing to pursue a claim to the Subject Funds.              Fed. R. Crim.

 P. 32.2(c)(1)(A); Willis Mgmt., 652 F.3d at 241.

       B.   Amalgamated’s Petition Satisfies the Pleading
            Requirements of 21 U.S.C. § 853(n)

            The Watts Petitioners further argue that the

 Amalgamated Petition fails to plead any facts showing that it

 has a lien or other property right or security interest in the

 Subject Funds, and that Amalgamated therefore does not state a

 plausible claim of a superior right to the funds pursuant to

 Section 853(n).    (See Watts Mem. at 10.)         Amalgamated counters

 that it has a security interest in the Subject Funds pursuant to

 the 2008 Security Agreement between Amalgamated and the Borrower

 Subsidiaries, whereby the collateral of the Borrower

 Subsidiaries was pledged to Amalgamated.           (See Amalgamated Opp.

 at 5.)

            The court agrees that the Amalgamated Petition

 adequately pleads a plausible superior claim to the Subject

 Funds pursuant to Section 853(n), and that the Watts

 Petitioners’ motion to dismiss the Amalgamated Petition must

 therefore be denied.        On the basis of the loan documents between

 Amalgamated and the Borrower Subsidiaries and GDC, Amalgamated


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 argues four possible grounds on which its petition makes a

 cognizable claim to a superior interest in the Subject Funds:

 (1) the loan documents create a security interest in the subject

 funds; (2) Amalgamated holds a security interest as proceeds of

 collateral; (3) Amalgamated holds a legal interest in the funds

 pursuant to a constructive trust; and (4) Amalgamated holds an

 equitable lien on the funds.       (See Amalgamated Opp. at 14, 16,

 21, 23.)   The court finds that Amalgamated’s first two arguments

 regarding its petition satisfy the pleading requirements of

 Section 853(n).12

            1.    The Loan Documents Grant Amalgamated a Security
                  Interest in the Subject Funds

            There is no question that USW is not a Borrower

 Subsidiary, and that it was never directly involved in the

 making of any loan agreements between Amalgamated, GDC, and the

 Borrower Subsidiaries.      Both parties also agree that the USW

 Chase Bank accounts comprising the Subject Funds were never the

 direct recipient of loan proceeds from Amalgamated.             (See Watts

 Mem. at 15; Amalgamated Opp. at 17.)         The Watts Petitioners

 therefore argue that Amalgamated “has failed to plead any facts

 showing that it has a lien or other property right or security

            12
               Amalgamated’s third argument, that it holds a legal interest in
 the funds pursuant to a constructive trust, and fourth argument, that it
 holds an equitable lien on the funds, are neither included in nor referenced
 to in the Amalgamated Petition. The court therefore declines to address
 these arguments; however, Amalgamated’s first two arguments, as reflected in
 the Amalgamated Petition, are sufficient to satisfy the pleading requirements
 of Section 853(n).

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 interest in the [Subject Funds], let alone enough facts to state

 a plausible claim of a vested or superior right in the [Subject

 Funds].”   (Watts Mem. at 10.)

            Pursuant to the 2008 Security Agreement entered into

 between Amalgamated and the Borrower Entities, the bank obtained

 “a security interest in, all of the right, title and interest of

 the [Borrower Subsidiaries] in, to and under the Collateral.”

 (2008 Security Agreement § 1(b).)        “Collateral” is defined in

 the 2008 Security Agreement as “all personal property of every

 kind and nature, wherever located, whether now owned or

 hereafter acquired or arising, and all Proceeds and products

 thereof, including . . . Accounts Receivable, . . . Deposit

 Accounts . . . and . . . other property owned or held by or on

 behalf of” the Borrower Subsidiaries.         (Id. § 2(a).)       Further,

 the incorporated Amended State Court Complaint alleges that

 “[the Borrower Subsidiaries] gave Amalgamated a duly perfected




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 first-priority lien on the Collateral.”13          (Amended State Court

 Action Compl. ¶ 34.)

            Contrary to the Watts Petitioners’ assertion, these

 loan documents, when read as part of the Amalgamated Petition,

 establish “enough facts to state a claim to relief that is

 plausible on its face.”       Twombly, 550 U.S. at 570; Iqbal, 556

 U.S. at 678.     The broadly worded language of the 2008 Security

 Agreement, and the Collateral to which Amalgamated was granted

 an interest, plausibly includes some if not all of the Subject

 Funds from USW.     Moreover, at trial and during the forfeiture

 phase following the jury’s guilty verdict against Dupree, the

 government presented evidence of the movement of fraudulently

 obtained loan proceeds to and from numerous accounts controlled

 by Dupree, including USW accounts. (See, e.g., ECF No. 535,

 Trial Tr. at 4407, 4441-43.)       Further, as the court stated in

 its July 27, 2011 Order Adopting in Part and Modifying in Part

 Magistrate Judge Azrack’s Monsanto Hearing Report and

 Recommendation, “[b]y setting up an accounting system in which

             13
               In their reply memorandum, the Watts Petitioners take issue
 with Amalgamated’s inclusion in their papers of a U.C.C. Financing Statement,
 which notes USW as debtor and Amalgamated as a secured party as to “[a]ll
 personal property of the Debtor whether now existing or hereafter acquired,
 wherever located, together with all proceeds thereof.” (Financing Statement,
 Amalgamated Opp. Ex. D; ECF No. 583, Watts Reply Mem. at 7.) Indeed, a
 financing statement “is designed merely to put creditors on notice that
 further inquiry is prudent . . . the security agreement embodies the
 intentions of the parties.” In re Laminated Veneers Co., 471 F.2d 1124, 1125
 (2d Cir. 1973) (internal citation omitted). However, unlike the narrowly
 worded security agreement at issue in In re Laminated Veneers Co., see id.,
 the loan documents here broadly encompass the Borrower Subsidiaries’
 collateral, including property, proceeds, and products thereof.

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 all of the [GDC] subsidiaries contributed to and received funds

 from a single [account], which was also funded with loan

 proceeds, USW entangled itself with the allegedly fraudulent

 loan proceeds.”     (July 27th Order at 22.)       The court further

 noted that “the group of related subsidiaries, including USW,

 all shared in the [same account] and benefited from transfers of

 funds from that account, which included loan proceeds.”14              (Id.

 at 23.)   The transfers, commingling, and exchanges of loan

 proceeds and other assets by and between GDC and its

 subsidiaries, including USW and the Borrower Subsidiaries, give

 rise to Amalgamated’s claim that, pursuant to the 2008 Security

 Agreement, it possesses a security interest in the Subject Funds

 as Collateral of the Borrower Subsidiaries.

             The cases extensively cited by the Watts Petitioners

 which hold that general creditors possess no specific interest

 in property subject to forfeiture and therefore lack standing to

 bring a petition in an ancillary proceeding are simply

 inapplicable to the circumstances giving rise to Amalgamated’s

 claims.   See, e.g., DSI Assocs. LLC v. United States, 496 F.3d

 175, 184 (2d Cir. 2007) (holding that a claimant without an


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               In an attempt to further illustrate the commingling of assets
 between USW and the Borrower Subsidiaries, Amalgamated included with its
 opposition memorandum an affidavit by forensic accountant Richard J. Corcoran
 III. (Amalgamated Opp. Ex. B (“Corcoran Affidavit”).) However, because this
 affidavit was not referenced by or otherwise incorporated into the
 Amalgamated Petition, the court may not consider it as part of the instant
 motion to dismiss.

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 interest in a “particular, specific asset” lacks standing to

 initiate ancillary proceeding); Ribadeneira, 105 F.3d at 834

 ([a]s holders of checks, as opposed to security interests,

 petitioners are unable to assert rights to a particular asset or

 specific funds) (citation omitted) (emphasis added); United

 States v. Coluccio, 51 F.3d 337, 339 (2d Cir. 1995) (holding

 that general creditors do not have standing to contest

 forfeitures); United States v. Schwimmer, 968 F.2d 1570, 1581

 (2d Cir. 1992); see also United States v. Hu, No. 08-CR-425,

 2011 U.S. Dist. LEXIS 135463, at *14-15 (E.D.N.Y. Nov. 22,

 2011); United States v. Agnello, 344 F. Supp. 2d 360, 372

 (E.D.N.Y. 2003).

            By virtue of the loan documents between Amalgamated

 and the Borrower Subsidiaries, Amalgamated asserts a security

 interest in the Subject Funds, which raises the bank above the

 status of a general creditor.       Cf. DSI Assocs., 496 F.3d at 184

 ([A]s a matter of law, having failed to retain a security

 interest in the shares, DSI is simply a general creditor . . .

 .”)   The fact that Amalgamated’s security interest does not

 arise from a direct security agreement with USW is of no moment

 in light of the 2008 Security Agreement, which grants the bank

 an interest in the Subject Funds as assets or proceeds of

 fraudulently obtained loan monies that were moved and exchanged

 through a complex network of bank accounts and transactions

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 involving GDC, USW, and the Borrower Subsidiaries.              (See Trial

 Tr. at 4407, 4441-43; July 27th Order at 22.)

            Importantly, the court notes the following language by

 the Supreme Court in Caplin & Drysdale:

            The Government’s interest in winning
            undiminished forfeiture thus includes the
            objective of returning property, in full, to
            those wrongfully deprived or defrauded of
            it. Where the Government pursues this
            restitutionary end, the Government’s
            interest in forfeiture is virtually
            indistinguishable from its interest in
            returning to a bank the proceeds of a bank
            [fraud]; and a forfeiture-defendant’s claim
            of right to use such assets to hire an
            attorney, instead of having them returned to
            their rightful owners, is no more persuasive
            than a bank robber’s similar claim.

 491 U.S. at 629-630.        In light of Dupree’s conviction and the

 jury’s forfeiture judgment, such are the circumstances here

 between the government, Amalgamated, and the Watts Petitioners.

            The court therefore concludes that the Amalgamated

 Petition sufficiently establishes “the nature and extent of the

 petitioner’s right, title, or interest in the property, the time

 and circumstances of the petitioner’s acquisition of the right,

 title, or interest in the property, any additional facts

 supporting the petitioner’s claim, and the relief sought.”                21

 U.S.C. § 853(n)(3).



            2.    Amalgamated Holds a Security Interest in the
                  Subject Funds as Proceeds of Collateral

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             The Amalgamated Petition also sufficiently pleads the

 existence of a security interest in the Subject Funds as

 proceeds of the Borrower Subsidiaries’ Collateral.             Pursuant to

 N.Y. U.C.C. § 9-315(a)(2), a security interest attaches to “any

 identifiable proceeds of collateral.”         N.Y. U.C.C. § 9-

 315(a)(2); see also General Motors Acceptance Corp. v. Norstar

 Bank, N.A., 141 Misc. 2d 349, 351 (N.Y. Sup. Ct., Erie Cnty.

 1988) (“The commingling of proceeds, does not, in and of itself,

 defeat any security interest plaintiff may have in the proceeds

 deposited in defendant bank.      Instead, plaintiff’s security

 interest in such proceeds depends solely on whether or not they

 continue to be ‘identifiable’, even if commingled . . . .”)

 Furthermore, pursuant to N.Y. U.C.C. § 9-205, a security

 interest is not invalid by reason of a debtor’s ability to “use,

 commingle, or dispose of all or part of the collateral” or to

 “use, commingle, or dispose of proceeds . . . .”             N.Y. U.C.C. §

 9-205(1).   Amalgamated has established a claim to the Subject

 Funds under the broad meaning of “Collateral” in the 2008

 Security Agreement.

             The Watts Petitioners argue, however, that pursuant to

 N.Y. U.C.C. § 9-315(b)(2), in order for Amalgamated to assert a

 valid lien or security interest in the Subject Funds, it must

 now be able to trace the proceeds of the collateral of the


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 Borrower Subsidiaries to specific funds in the Chase Bank

 accounts.   (See Watts Mem. at 16; see also N.Y. U.C.C. § 9-

 315(b)(2).)    In support of this argument, the Watts Petitioners

 cite Gladstein v. Martorella, 75 A.D.3d 465 (N.Y. App. Div. 1st

 Dep’t 2010), which held that certain funds were not subject to a

 creditor’s claimed security interest as proceeds of collateral

 because the proceeds were commingled with other funds and it

 could not be determined “as a matter of law whether the

 deposited funds were ultimately derived, in whole or in part,

 from [the funds at issue].”       Id. at 467.

             Gladstein, however, does not support the Watts

 Petitioners’ arguments for two reasons.          First, in Gladstein the

 Appellate Division denied the creditor’s attempt to intervene in

 an underlying contract action because there were “no issues of

 law or fact” the creditor’s claim had in common with the

 underlying action, whereas Amalgamated’s claim is central to the

 criminal action giving rise to the conviction of Watts’ alleged

 co-conspirator, the subsequent forfeiture of the funds, and this

 ancillary proceeding.       See id. at 466.    Second, the Gladstein

 court did not find as a matter of fact that the funds at issue

 could not possibly be traced by the creditor; rather, the court

 declined to credit the creditor’s prospective tracing

 methodology.    See id. at 467.     Here, Amalgamated’s ability to

 trace the proceeds of its collateral of the Borrower

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 Subsidiaries to specific and identifiable funds in the Chase

 Bank accounts is a question of fact that is not subject to the

 instant motion to dismiss.      Rather, at this juncture, without

 considering the Corcoran Affidavit submitted by Amalgamated in

 opposition to the Watts Petitioners’ motion, Amalgamated need

 only plead enough facts to make a plausible claim to the relief

 sought, which it has done.      See Twombly, 550 U.S. at 570.

            The possibility that a third-party petitioner may

 sufficiently establish standing and satisfy the pleading

 requirements of Section 853(n), while yet leaving unresolved

 certain key questions of fact is reflected in Federal Rule of

 Criminal Procedure 32.2(c)(1)(B), which provides that “[a]fter

 disposing of any motion filed under Rule 32.2(c)(1)(A) and

 before conducting a hearing on the petition, the court may

 permit the parties to conduct discovery in accordance with the

 Federal Rules of Civil Procedure if the court determines that

 discovery is necessary or desirable to resolve factual issues.”

 Fed. R. Crim. P. 32.2(c)(1)(B).       If, following discovery,

 Amalgamated is still unable to trace identifiable assets in the

 Subject Funds to collateral or other such assets of the Borrower

 Subsidiaries, its petition may then be vulnerable to a summary

 judgment motion.    See id. (“When discovery ends, a party may

 move for summary judgment under Federal Rule of Civil Procedure

 56.”); cf. Ferris, Baker, Watts v. Stephenson (in Re Mjk

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 Clearing), 286 B.R. 109, 122-123 (Bankr. D. Minn. 2002)

 (granting summary judgment where particular assets could not be

 traced pursuant to N.Y. U.C.C. § 9-315), aff’d, 371 F.3d 397,

 401-403 (8th Cir. 2004).

            At this time, however, and assuming, as the court

 must, that the facts set forth in the Amalgamated Petition are

 true, Amalgamated has sufficiently pleaded an interest in

 specific assets pursuant to Section 853(n).           Fed. R. Crim. P.

 32.2(c)(1)(A); Willis Mgmt., 652 F.3d at 241.            Amalgamated’s

 claimed interest, if proven by a preponderance of the evidence,

 would establish the bank’s superior legal interest in the

 Subject Funds on the basis of priority of ownership over the

 forfeited property at the time of the offense.               See 21 U.S.C. §

 853(n)(6)(A).    The Watts Petitioners’ motion to dismiss the

 Amalgamated Petition must therefore be and is denied.

 IV. Griffin’s Request to be Added as an Interested Party

            On June 28, 2012, the court received a letter from

 former GDC employee and pro se party Valerie Griffin seeking

 permission to file a third-party claim to some portion of the

 Subject Funds.    (See Griffin Ltr.)        In her letter, Griffin

 alleges that she is owed a total of $17,702.65 in wages,

 vacation pay, and payroll deductions arising from past services

 that she rendered to GDC.      (See id. ¶ 2.)      For the reasons

 discussed below, Griffin’s request to file a third-party claim

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 to the funds included in the preliminary orders of forfeiture is

 denied for lack of standing.

       A.     The Timeliness of Griffin’s Prospective Petition

              Griffin’s first June 25, 2012 letter to the court

 regarding her desire to file a third-party claim to the Subject

 Funds mistakenly states that her deadline to file a petition

 expired on June 12, 2012, based upon an order issued by the

 court on that same date.      (See id. ¶¶ 1, 3.)       However, the

 filing deadline referenced by the court in its June 12, 2012

 order only applied to “parties that were provided direct written

 notice” of the Preliminary Orders of Forfeiture.             (Order, June

 12, 2012.)    Griffin and the government agree that she was not

 among those parties provided with direct written notice of the

 Preliminary Orders of Forfeiture.        (See Griffin Ltr. ¶ 3; ECF

 No. 559, Gov’t Opp. to Griffin Ltr. (“Gov. Opp.”) at 2; see also

 ECF No. 538, Certificate of Service.)         Therefore, Griffin’s

 deadline for filing a petition did not expire until thirty-two

 days after the government’s final publication of notice of the

 Preliminary Orders of Forfeiture on June 7, 2012; that is, on

 July 9, 2012.     See 21 U.S.C. § 853(n)(2) (providing for a period

 of thirty days from the date of final publication for a claimant

 to file a petition); Local Civ. R. 6.4 (providing that, in

 computing any period of time, if the last day of a period falls

 on a weekend or legal holiday, then the period continues to run

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 until the end of the next business day); (see also ECF No. 553,

 Decl. of Publication.).

              As stated previously, courts typically require “strict

 compliance” with the rules and deadlines governing forfeiture

 proceedings.     Amiel, 995 F.2d at 371 (collecting cases applying

 standard).    However, in the context of a motion to dismiss a

 complaint pursuant to Rule 12(b)(6), the Second Circuit has

 advised that “[a] pro se complaint should not be dismissed

 unless ‘it appears beyond doubt that the plaintiffs can prove no

 set of facts in support of [their] claims which would entitle

 [them] to relief.’”     Weixel v. Bd. of Educ. of N.Y., 287 F.3d

 138, 145 (2d Cir. 2002) (quoting Conley v. Gibson, 355 U.S. 41,

 45-46 (1957)).    Additionally, when considering a motion to

 dismiss a pro se complaint, “courts must construe [the

 complaint] broadly, and interpret [it] to raise the strongest

 arguments that [it] suggests.”       Id. at 146 (alterations in

 original) (quoting Cruz v. Gomez, 202 F.3d 593, 597 (2d Cir.

 2000)).

              In light of the above standard, the court broadly and

 liberally construes Griffin’s June 25, 2012 letter, as well as

 her reply letters of July 20, 2012, (ECF No. 575.), August 15,

 2012, (ECF No. 588.), and August 17, 2012, (ECF No. 590.), as




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 timely efforts to comply with the requirements for filing a

 third-party claim to the Subject Funds.15

       B.    Griffin Lacks Standing to Assert a Claim

             Notwithstanding the timeliness of Griffin’s attempt to

 file a third-party petition, Griffin’s prospective petition must

 be dismissed due to her lack of standing to pursue a claim in

 the ancillary proceeding.

             Griffin claims that she is entitled to $17,702.65 in

 wages, vacation pay, and payroll deductions arising from past

 services rendered to GDC.       (See Griffin Ltr. ¶ 2.)        Because

 Griffin cannot claim ownership or a security interest in any

 specific assets contained in the preliminary orders of

 forfeiture, Griffin’s general claim for monies owed to her would

 only establish her as a general creditor of GDC with a right to

 payment.    See Schwimmer, 968 F.2d at 1581 (holding that a

 general creditor “does not have a property interest superior to

 defendant’s in any particular asset or funds until he has

 obtained some judgment and secures that asset or those funds.”).

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               The court also notes that, according to Griffin’s reply letter
 of July 20, 2012, on June 20, 2012, the Pro Se Office of this court informed
 Griffin that in order to file a third-party petition, she first had to submit
 a letter to the court explaining why she should be “recognized as a Party of
 Interest.” (ECF No. 575, Griffin Ltr. of July 20, 2012.) Griffin timely
 filed such a letter on June 25, 2012. Therefore, the court finds that
 Griffin’s failure to file a formal petition prior to July 9, 2012 is excused
 by the filing of her June 25th letter asking that she be named a party of
 interest, which is signed by Griffin and establishes, in sum and substance,
 “the nature and extent of [her] right, title, or interest in the property,
 the time and circumstances of [her] acquisition of the right, title, or
 interest in the property, any additional facts supporting [her] claim, and
 the relief sought.” 21 U.S.C. § 853(n)(3).

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 The Second Circuit has repeatedly held that a general creditor

 lacks the property interest required by Section 853(n)(2) in

 order to confer standing to pursue a claim in an ancillary

 proceeding.    See, e.g., DSI Assocs. LLC, 496 F.3d at 184

 (holding that a claimant without an interest in a “particular,

 specific asset” lacks standing to initiate ancillary

 proceeding); Ribadeneira, 105 F.3d at 836-37 (holding that

 general creditor lacked standing to petition to modify an order

 of forfeiture); Coluccio, 51 F.3d at 339 (holding that general

 creditors do not have standing to contest forfeitures);

 Schwimmer, 968 F.2d at 1581; see also Agnello, 344 F. Supp. 2d

 at 372 (holding that party that did not establish ownership in

 specific funds was a general creditor that only had a right to

 payment).   Accordingly, the court agrees with the government

 that Griffin lacks standing to pursue a claim to the funds

 subject to the preliminary orders of forfeiture.             (Gov. Opp. at

 2-3.)

             In her reply letter of August 21, 2012, Griffin

 correctly notes that at least two other circuits have found that

 certain general creditors have standing to bring claims under

 Section 853(n).    (See Griffin Ltr. of Aug. 21, 2012 at 2.)             In

 United States v. Reckmeyer, the Fourth Circuit held that a

 general creditor of an estate had standing under Section 853(n)

 where essentially the entire estate stood to be forfeited to the

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 government.     See 836 F.2d 200, 206 (4th Cir. 1987) (“Because

 petitioners’ interests necessarily lie within that estate, they

 meet the threshold qualification for relief by asserting a legal

 interest in the property subject to forfeiture.”).             Similarly,

 in United States v. Mageean, the Ninth Circuit affirmed without

 opinion a district court decision that general creditors had

 standing to bring claims under 18 U.S.C. § 1963.16            822 F.2d 62

 (9th Cir. 1987), aff’g 649 F. Supp. 820, 829 (D. Nev. 1986).                On

 the basis of Reckmeyer and Mageean, Griffin argues that despite

 being, as she admits, a general creditor, she should likewise be

 permitted to pursue a third-party claim to the assets subject to

 forfeiture.     (See Griffin Ltr. at 2-3.)

            However, in Ribadeneira, the Second Circuit expressly

 declined to adopt the holding of the Fourth Circuit regarding

 unsecured creditors in Reckmeyer.         105 F.3d at 836 n.4.       The

 Second Circuit likewise noted but declined to follow the Ninth

 Circuit’s ruling in Mageean.       See id. at 837.       Therefore, the

 controlling Second Circuit law in this case is that general,

 unsecured creditors lack standing to pursue claims in an

 ancillary proceeding.       DSI Assocs. LLC, 496 F.3d at 184;

 Ribadeneira, 105 F.3d at 836; Schwimmer, 968 F.2d at 1580-81;

 United States v. All Funds on Deposit on or Before November 8,


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               18 U.S.C. § 1963(l), which concerns the forfeiture of assets as
 part of a criminal penalty, and Section 853(n) contain identical procedures
 for the hearing of third-party claims to assets subject to forfeiture.

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 955 F. Supp. 23, 26 (E.D.N.Y. 1997).          As a general creditor of

 GDC, Griffin “does not possess a ‘legal right, title, or

 interest in the property’ that was forfeited as required for

 standing under section 853(n)(6)(A), nor can [she] show that

 [she] was a bona fide purchaser for value of any such right,

 title or interest, as required for standing under section

 853(n)(6)(B).”     DSI Assocs. LLC, 496 F.3d at 184 (citing

 Ribadeneira, 105 F.3d at 836).        Accordingly, Griffin’s request

 to file a third-party claim to the funds included in the

 preliminary orders of forfeiture is respectfully denied.17

                                  CONCLUSION

       For the reasons set forth above, the court: (1) grants the

 government’s motion to dismiss the petition of Rodney Watts and

 DePetris & Bachrach, LLP (collectively, the “Watts

 Petitioners”); (2) denies the Watts Petitioners’ cross-motion

 for judgment on the pleadings; (3) denies the Watts Petitioners’

 motion to dismiss Amalgamated Bank’s petition; and (4) denies

 Valerie A. Griffin’s request to be added as an interested party

 in order to file a third-party petition.




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               The government additionally argues that Griffin’s prospective
 claim would also fail on the merits. (Gov. Opp. at 3.) However, in light of
 holding that Griffin lacks standing to file a third-party petition, the court
 need not also address the merits of Griffin’s prospective claim. See Steel
 Co. v. Citizens for a Better Env’t, 523 U.S. 83, 109-10 (1998) (holding that
 courts lack jurisdiction to address merits of a claim where party raising the
 claim is found to lack standing to maintain suit).

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            The government shall serve a copy of this Memorandum

 and Order on Ms. Griffin and file a declaration of service via

 ECF by January 29, 2013.      The remaining parties shall jointly

 advise the court via ECF no later than February 4, 2013 as to

 how they intend to proceed.



            SO ORDERED.

 Dated:     January 28, 2013
            Brooklyn, New York

                                          __________/s/________________
                                          KIYO A. MATSUMOTO
                                          United States District Judge
                                          Eastern District of New York




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